                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                    3:96CR123

UNITED STATES OF AMERICA               )
                                       )
vs.                                    )                           ORDER
                                       )
SHON BASKINS                  (6)      )
______________________________________ )



        THIS MATTER IS BEFORE THE COURT upon the request of defendant Shon Baskins
for an early termination of probation.

        IT IS ORDERED that the clerk’s office is directed to docket defendant’s letter requesting
an early termination of probation as a Motion for Early Termination of Probation.

       IT IS FURTHER ORDERED that the Motion for Early Termination of Probation is
hereby GRANTED effective the date of the signing of this Order.

       IT IS SO ORDERED.                        Signed: April 29, 2008




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